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                           UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


SHERYL WULTZ, et al.

               Plaintiffs,

        v.                                                    Civ. No. 08-01460 (RCL)

THE ISLAMIC REPUBLIC OF IRAN, et al.

             Defendants.

                             DECLARA TION OF JEREMY STERN

      Jeremy Stern, of Be it Shemesh, Israel, declares pursuant to 28 U.S.c. §1746, as follows:

        1.     I am a graduate of Princeton University, the Law Faculty of the Hebrew

University in Jerusalem, a member of the Israeli Bar and I practice law in Israel. I am fluent in

Hebrew and English and I am capable of h'anslating accurately between these languages .

       2.      Attached hereto is an accurate English-language translation of the original

Hebrew-language decision issue by the Israeli Supreme Court in c.A. 1432/03 Yinon Food

Products v. Kara 'an on September 1, 2004.

       3.      r have   conducted a thorough search of Israeli case law since Yinon and have not

fOLmd any case (from the Supreme Cowi or otherwise) that derogates from the unanimous

holding in Yinon (at ~~ 25-26) abolishing the "doub le actionability" doctrine in Israel.



      I declare under penalty of peljury under the laws of the United States of America -that the

foregoing is true and correct.

September 29, 2009

                                                  Jeremy Stem
